811 F.2d 607
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Barbara SPARKS, Plaintiff-Appellant,v.Mary E. YATES;  Marjorie Hall-Ellis;  Barbara Boyd,Defendants-Appellees.
    No. 86-3990.
    United States Court of Appeals, Sixth Circuit.
    Dec. 15, 1986.
    
      Before JONES and MILBURN, Circuit Judges, and CONTIE, Senior Circuit Judge.
    
    ORDER
    
      1
      This appeal has been referred to this panel pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      It appears from the file that on October 10, 1986, the magistrate entered a report and recommendation that appellant's civil action be dismissed.  Thereafter, appellant appealed from that report and recommendation.  The magistrate's report and recommendation is not a final decision from which an appeal can be taken.  28 U.S.C. Sec. 1291;  Catlin v. United States, 324 U.S. 229 (1945);  Ambrose v. Welch, 729 F.2d 1084 (6th Cir.1984).  The Court is without jurisdiction over this appeal.
    
    
      3
      It is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    